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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


KEVIN ALAN MEGEHEE                                                            PLAINTIFF

V.                              CASE NO. 5:21-CV-5036

SHERIFF SHAWN HOLLOWAY, et al.                                           DEFENDANTS


                                         ORDER

       Comes on for consideration the Report and Recommendation (Doc. 9) filed in this

case on May 17, 2021, by the Honorable Christy Comstock, United States Magistrate

Judge for the Western District of Arkansas. Fourteen (14) days have passed without

objections being filed by the parties.

       The Court has reviewed this case and, being well and sufficiently advised, finds as

follows: the Report and Recommendation is proper and should be and hereby is

ADOPTED IN ITS ENTIRETY. Accordingly, for the reasons stated in the Magistrate

Judge’s Report and Recommendation, the case is DISMISSED WITHOUT PREJUDICE

pursuant to Federal Rule of Civil Procedure 41(b) and Local Rule 5.5(c)(2).

       IT IS SO ORDERED on this 7th day of June, 2021.


                                         /s/ Timothy L. Brooks
                                         TIMOTHY L. BROOKS
                                         UNITED STATES DISTRICT JUDGE
